      Case: 1:20-cv-07205 Document #: 1 Filed: 12/04/20 Page 1 of 8 PageID #:1




                         UNITED STATES DISTRICT COURT
                     FOR THE NORTHERN DISTRICT OF ILLINOIS
                               EASTERN DIVISION

 CHICK-FIL-A, INC.,

                    Plaintiff,
                                                     Case No. 1:20-cv-7205
 v.

 AGRI STATS, INC., ET AL.,

                  Defendants.                        (Related to
                                                                                                                                                                                                                                                                     )


                                          COMPLAINT

       1.      Plaintiff Chick-fil-A, Inc. (“Plaintiff” or “CFA, Inc.”) is a Georgia corporation with
                                                     J
                                                         u
                                                                 r
                                                                         y
                                                                                 T
                                                                                             r
                                                                                                 i
                                                                                                         a
                                                                                                             l
                                                                                                                 D
                                                                                                                             e
                                                                                                                                         m
                                                                                                                                                     a
                                                                                                                                                             n
                                                                                                                                                                 d
                                                                                                                                                                         e
                                                                                                                                                                                     d
its principal place of business in Fulton County, Georgia. CFA, Inc. develops and supports a chain
                                                                                                                         I
                                                                                                                                 n
                                                                                                                                                 r
                                                                                                                                                         e
                                                                                                                                                                     B
                                                                                                                                                                                 r
                                                                                                                                                                                         o
                                                                                                                                                                                             i
                                                                                                                                                                                                 l
                                                                                                                                                                                                     e
                                                                                                                                                                                                             r
                                                                                                                                                                                                                         C
                                                                                                                                                                                                                                 h
                                                                                                                                                                                                                                         i
                                                                                                                                                                                                                                             c
                                                                                                                                                                                                                                                 k
                                                                                                                                                                                                                                                     e
                                                                                                                                                                                                                                                             n
                                                                                                                                                                                                                                                                     A
                                                                                                                                                                                                                                                                         n
                                                                                                                                                                                                                                                                             t
                                                                                                                                                                                                                                                                                 i
                                                                                                                                                                                                                                                                                     t
                                                                                                                                                                                                                                                                                         r
                                                                                                                                                                                                                                                                                             u
                                                                                                                                                                                                                                                                                                 s
                                                                                                                                                                                                                                                                                                     t
                                                     L
                                                         i
                                                             t
                                                                 i
                                                                     g
                                                                             a
                                                                                     t
                                                                                         i
                                                                                             o
                                                                                                     n
                                                                                                             –
                                                                                                                     C
                                                                                                                                     a
                                                                                                                                             s
                                                                                                                                                 e
                                                                                                                                                             N
                                                                                                                                                                     o
                                                                                                                                                                             .
                                                                                                                                                                                         1
                                                                                                                                                                                             :
                                                                                                                                                                                                 1
                                                                                                                                                                                                         6
                                                                                                                                                                                                                 -
                                                                                                                                                                                                                     c
                                                                                                                                                                                                                             v
                                                                                                                                                                                                                                 -
                                                                                                                                                                                                                                     0
                                                                                                                                                                                                                                             8
                                                                                                                                                                                                                                                 6
                                                                                                                                                                                                                                                         3
                                                                                                                                                                                                                                                                 7
of retail quick-service restaurants specializing in a boneless breast of chicken sandwich, known as

the Chick-fil-A® Chicken Sandwich.

       2.      Since CFA, Inc. was founded by Truett Cathy in 1964, it has endeavored to conduct

business with an emphasis on business ethics such as fairness, honesty, loyalty, and respect.

       3.      The majority of Chick-fil-A branded restaurant businesses are owned and operated

by independent franchisees, known as Operators. CFA, Inc. also operates various Chick-fil-A and

other restaurants itself from time to time. Certain affiliates of Chick-fil-A operate certain Dwarf

House restaurants and Truett’s Grill restaurants, which are licensed to sell Chick-fil-A products.

CFA, Inc. has also granted licenses to certain Chick-fil-A licensees. Collectively, these Chick-fil-

A branded restaurants make up the “CFA Restaurant Group.”

       4.      Broiler chicken is the central ingredient in many of the proprietary products served

at each Chick-fil-A branded restaurant, which include, but are not limited to, the Chick-fil-A®



                                                 1
      Case: 1:20-cv-07205 Document #: 1 Filed: 12/04/20 Page 2 of 8 PageID #:2




Chicken Sandwich, the Grilled Chicken Sandwich, the Spicy Chicken Sandwich, and the Chick-

fil-A® Nuggets. These proprietary chicken products have directly contributed to the success and

growth of the CFA Restaurant Group into one of the nation’s largest quick service restaurant

chains.

          5.   To ensure consistency in taste and quality of products served across multiple

locations spanning multiple states, CFA, Inc. negotiated and contracted directly with certain

Defendants for the production and supply of its chicken according to CFA, Inc.’s unique recipes

and specifications. These negotiations and contracts governed the price at which certain

Defendants agreed to supply the CFA Restaurant Group with broiler chicken.

          6.   CFA, Inc. provided certain Defendants with instructions regarding each step of the

preparation and packaging process for the chicken products sold by the CFA Restaurant Group,

including the recipe for those products and specific requirements for packaging and labeling those

products.

          7.   CFA, Inc. also utilized distributors such as Armada Supply Chain Solutions, LLC

and Armada Warehouse Solutions, LLC (collectively “Armada”), Golden State Foods Corp. and

Quality Custom Distribution Services, Inc. (collectively “GSF/QCD”), and Meadowbrook Meat

Company, Inc. and McLane Foodservice, Inc. (collectively “MBM/McLane”), to serve the CFA

Restaurant Group. For purposes of this action, Armada, GSF/QCD, and MBM/McLane have all

assigned their claims arising out of these transactions to CFA, Inc.

          8.   CFA, Inc. brings this action on its own behalf, and additionally and alternatively,

as assignee of Armada, GSF/QCD, MBM/McLane, and their affiliates (collectively “Assignors”).

All references in this Complaint to “CFA, Inc.” or “Plaintiff” include Chick-fil-A, Inc.’s

Assignors.



                                                 2
       Case: 1:20-cv-07205 Document #: 1 Filed: 12/04/20 Page 3 of 8 PageID #:3




       9.      CFA, Inc. and/or its Assignors purchased billions of dollars worth of broiler

chicken from Defendants and/or their co-conspirators throughout the relevant period at prices that

were artificially inflated due to the conduct outlined below. As such, CFA, Inc. and the CFA

Restaurant Group sustained injury and damages to their businesses as a proximate result of the

antitrust violations and other unlawful activities alleged in this Complaint.

       10.     CFA, Inc. brings this action for damages under the federal antitrust laws against the

defendants identified below and incorporates by reference Direct Action Plaintiffs’ Consolidated

Complaint and Demand for Jury Trial [ECF Nos. 3924, 3922] filed in In re Broiler Chicken

Antitrust Litigation, 1:16-cv-08637 (N.D. Ill.) on October 23, 2020.1

       11.     CFA, Inc. joins Section II of the Direct Action Plaintiffs’ Consolidated Complaint

and Demand for Jury Trial [ECF Nos. 3924, 3922], adding the following to specify CFA, Inc.’s

causes of action and the Defendants and Co-Conspirators in CFA, Inc.’s action.




1
  Pursuant to the Court’s orders in In re Broiler Chicken Antitrust Litig., 1:16-cv-08637, the Direct-
Action Plaintiffs filed “a consolidated complaint” [ECF Nos. 3778, 3652, 3525] containing “all
the allegations the Direct-Action Plaintiffs make against all Defendants” on October 23, 2020
[ECF Nos. 3924, 3922]. The Court’s orders did not address how DAPs seeking to file new
complaints after the filing of Direct Action Plaintiffs’ Consolidated Complaint and Demand for
Jury Trial should proceed. In an effort to promote efficiency, Plaintiff files this abbreviated
pleading that incorporates by reference and adopts the allegations set forth in Direct Action
Plaintiffs’ Consolidated Complaint and Demand for Jury Trial. If the Court prefers a different form
or process, Plaintiff will withdraw this pleading and proceed according to the Court’s direction.


                                                  3
        Case: 1:20-cv-07205 Document #: 1 Filed: 12/04/20 Page 4 of 8 PageID #:4




                       Operative
                       Complaint                               Named-Co-
                                       Named Defendants
                      (Reference is                           Conspirators (if
    Plaintiff Name                      (Not Previously                              Causes of Action
                        to Sealed
                                          Dismissed)              any) 2
                       Version, if
                       applicable)
    Chick-fil-A,      TBD             Agri Stats; Case;     Amick; Fieldale;     Count I (Sherman Act
    Inc.                              Claxton; Foster       George’s; Marshall   Claim for all
                                      Farms; Harrison;      Durbin; Peco         Anticompetitive Conduct);
                                      House of Raeford;                          Count II (Sherman Act
                                      Keystone Foods;                            Claim for Output
                                      Koch; Mar-Jac;                             Restriction, Pled in the
                                      Mountaire; O.K.                            Alternative to Count I);
                                      Foods; Perdue;                             Count III (Sherman Act
                                      Pilgrim’s Pride;                           Claim for GA Dock
                                      Sanderson; Simmons;                        Manipulation, Pled in the
                                      Tyson; Wayne                               Alternative to Count I);
                                                                                 Count LVII (Sherman Act
                                                                                 Claim for Bid Rigging,
                                                                                 Pled in the Alternative to
                                                                                 Count I)



         12.       In addition to the above information, CFA, Inc. also adds the following additional

count to Direct Action Plaintiffs’ Consolidated Complaint and Demand for Jury Trial [ECF Nos.

3924, 3922].

                              COUNT LVII
                       VIOLATION OF 15 U.S.C. § 1
    (AGAINST CASE, CLAXTON, KOCH, MAR-JAC, PERDUE, PILGRIM’S PRIDE,
                SANDERSON, AND TYSON FOR BID-RIGGING)

         13.       CFA, Inc. incorporates by reference and adopts the allegations set forth in Direct

Action Plaintiffs’ Consolidated Complaint and Demand for Jury Trial [ECF Nos. 3924, 3922], and

the allegations in the superseding indictment returned by the grand jury in United States v. Jayson

Jeffrey Penn, et al., 20-cv-152 (D. Colo.) [ECF No. 101], on October 6, 2020.



2
  By virtue of Plaintiff previously being a member of the putative class of direct purchasers,
Plaintiff was also a member of the settlement classes that were certified with respect to Fieldale
Farms Corporation, George’s, Inc. and George’s Farms, Inc., Peco Foods, Inc., and Amick Farms,
LLC. While Plaintiff has not named these corporations as defendants, Plaintiff nonetheless has
named these corporations as co-conspirators in order to describe their conduct and contributions
to the unlawful conspiracy.
                                                    4
      Case: 1:20-cv-07205 Document #: 1 Filed: 12/04/20 Page 5 of 8 PageID #:5




       14.     The Superseding Indictment describes bid-rigging conduct that specifically

affected one of the victims identified in the Superseding Indictment by the pseudonym QSR-5.

       15.     According to the Superseding Indictment, on or about February 11, 2014, QSR-5

announced plans to serve antibiotic free or No Antibiotics Ever (“NAE”) broiler chicken meat at

all of QSR-5’s restaurants within the following five years.

       16.     Following QSR-5’s announcement, a number of Defendants communicated via

phone and text message in order to share and coordinate confidential bidding and pricing

information in connection with QSR-5’s request for bids relating to its planned transition to only

serving ABF broiler chicken meat.

       17.     CFA, Inc. is the victim identified in the Superseding Indictment by the pseudonym

QSR-5.

       18.     CFA, Inc. was directly and proximately injured by the bid-rigging conduct

described above and in the Superseding Indictment.

       19.     Defendants’ unlawful contract, combination or conspiracy had the following direct,

substantial, and reasonably foreseeable effects on commerce in the United States: (1) prices

charged to, and paid by, CFA, Inc. for chicken were artificially raised, fixed, maintained, or

stabilized at supra-competitive levels; (2) CFA, Inc. was deprived of the benefits of free, open, and

unrestricted competition in the United States chicken market; and (3) competition in establishing

the prices paid for chicken in the United States was unlawfully restrained, suppressed, or

eliminated.

       20.     Defendants’ above-described anticompetitive activities directly and proximately

caused injury to CFA, Inc. in the United States.




                                                   5
       Case: 1:20-cv-07205 Document #: 1 Filed: 12/04/20 Page 6 of 8 PageID #:6




       21.     As a direct and proximate result of Defendants’ above-described unlawful conduct,

CFA, Inc. paid artificially inflated prices for chicken.

       22.     As a direct and proximate result of Defendants’ above-described anticompetitive

conduct, CFA, Inc. was damaged in its business or property by paying prices for chicken that were

higher than they would have been but for Defendants’ unlawful conduct, which has resulted in an

amount of ascertainable damages to be established at trial.

       23.     Defendants’ anticompetitive conduct described in this Complaint constitutes a per

se violation of Section 1 of the Sherman Act, 15 U.S.C. § 1. Alternatively, Defendants’ conduct

is also unlawful under the Rule of Reason standard of antitrust liability because at all relevant

times Defendants possessed significant market power in the market for broilers and their conduct

had actual anticompetitive effects with no or insufficient offsetting pro-competitive justifications.

                                     PRAYER FOR RELIEF

       WHEREFORE, CFA, Inc. respectfully requests that the Court:

       A.      Enter joint and several judgments against Defendants in favor of CFA, Inc.;

       B.      Award CFA, Inc. damages against Defendants in a joint and several judgment for

an amount to be determined at trial to the maximum extent allowed under the claims stated above

as well as treble damages, any other enhancement of damages, attorneys’ fees, expenses, and costs

as provided by law;

       C.      Award CFA, Inc. its pre- and post-judgment interest as provided by law, with such

interest to be awarded at the highest legal rate;

       D.      Award CFA, Inc. its attorneys’ fees, litigation expenses, and costs, as provided by

law, including the federal antitrust laws; and




                                                    6
       Case: 1:20-cv-07205 Document #: 1 Filed: 12/04/20 Page 7 of 8 PageID #:7




          E.     Grant CFA, Inc. such other and further relief that the Court may deem just and

proper.

                                         JURY DEMAND

          Pursuant to Federal Rule of Civil Procedure 38, CFA, Inc. demands a trial by jury on all

issues so triable.

                                              Respectfully Submitted,




Dated: December 4, 2020                       /s/ Matthew J. Calvert
                                              Matthew J. Calvert (pro hac vice pending)
                                              HUNTON ANDREWS KURTH LLP
                                              Bank of America Plaza, Suite 4100
                                              600 Peachtree Street NE
                                              Atlanta, GA 30308
                                              (404) 888-4000
                                              mcalvert@huntonak.com

                                              Ryan P. Phair (#479050)
                                              Craig Y. Lee (admitted pro hac vice)
                                              Emily K. Bolles (admitted pro hac vice)
                                              Christopher C. Brewer (admitted pro hac vice)
                                              HUNTON ANDREWS KURTH LLP
                                              2200 Pennsylvania Avenue, NW
                                              Washington, D.C. 20037-1701
                                              (202) 955-1500
                                              rphair@huntonak.com
                                              craiglee@huntonak.com
                                              ebolles@huntonak.com
                                              brewerc@huntonak.com

                                              John S. Martin (admitted pro hac vice)
                                              HUNTON ANDREWS KURTH LLP
                                              Riverfront Plaza, East Tower
                                              951 East Byrd Street
                                              Richmond, VA 23219-4704
                                              (804) 788-8200
                                              marinj@huntonak.com




                                                 7
Case: 1:20-cv-07205 Document #: 1 Filed: 12/04/20 Page 8 of 8 PageID #:8




                                Julie B. Porter (#6243787)
                                SALVATORE PRESCOTT PORTER
                                & PORTER, PLLC
                                1010 Davis Street
                                Evanston, IL 60201
                                (312) 283-5711
                                porter@sppplaw.com

                                Attorneys for Plaintiff Chick-fil-A, Inc.




                                   8
